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lN THE UNITEI) sTATES DISTRICT CQURT
F<)R THE EASTERN I)ISTRICT OF PENNSYLVANIA

IN RE: GENERIC PHARMACEUTICALS MDL 2724
PRICING ANTITRUST LlTIGATION 16-MD-2724
HON. CYNTHIA M_. RUFE

 

THIS DOCUMENT RELATES TO:

ALL ACTIONS

 

 

PRI.VATE PLAINTIFFS’ MEMORANDUM IN SUPPORT ()F THEIR MGTION FOR
AN ORDER AUTH()RIZING
ACCESS TO (1) AN UNREDACTED VERSION ()F THE PLAINTIFF
STATES’ CONSOLIDATEI) AMENDED COMPLAINT
AND (2) CERTAIN MATERIALS OBTAINED BY THE PLAINTIFF STATES

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I. INTRODUCTIGN

ln the course of their extensive investigation`into antitrust violations in the generic
pharmaceutical industry, the state Attorneys General (the “Plaintiff States”) have expended v
considerable time and resources to obtain millions of documents from Defendants and third
parties by issuing investigative subpoenas under Connecticut law. The documents sought by
those subpoenas are the same documents sought by Plaintiffs’ First Set or Requests for
Production of Documents to Defendants, served on February 23, 2018 - including evidence of
conspiratorial communications, corporate structure, market reports and transaction data.l
Likewise, subpoenas issued by the Plaintiff States to third-party telephone carriers seek phone
records showing communications between employees of the Defendants-competitors in the
generic pharmaceutical industry. The documents collected pursuant to the Plaintit`f States’
subpoenas - referred to in this l\/lemorandum as “AG Documents” -- are unquestionably ‘
relevant to all cases in the MDL.

The Plaintiffs States’ Consolidated Amended Complaint (the “Amended Complaint”)2
describes an overarching conspiracy not to compete on the production, pricing, or sale of generic
drugs. According to the Amended Complaint, “[t]his overarching agreement is widespread
across the generic drug industry and is broader than the Defendants named in this Complaint.”
Amended Complaint il 92. The Amended Complaint alleges that the named Defendants, and
other pharmaceutical companies, followed a “universal understanding and code of conduct” in

fixing prices and allocating markets amongst themselves ]d. il lOS. The public version of the

 

l There is very substantial, if not complete overlap between the Plaintiff States’ subpoenas and
Plaintiffs’ First Set of Requests for Production of Documents to Defendants. C()mpare, e.g.,
interrogatories and Subpoena Duces Tecum to Teva Pharmaceuticals USA, Inc. (Exhibit A), with
Plaintiffs’ First Set of Requests for Production of Documents to Defeiidants (Exhibit B).

2 See Plaintir`t` States’~ Consolidated Amended Complaint (“Amended Complaint”), l7~cv-O3768,
ECF No. 3-l.

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Arnended Complaint is substantially redacted, and the Private Plaintiffs do not yet have access to
the AG Documents on which the Amended Complaint is based.3

'l`he information in the `AG Documents is relevant to prove the overarching unlawful
agreement even if some of the drugs mentioned have not yet been included in this litigation.
Indeed, the case law is well settled that anticompetitive activity by Defendants with respect to
one drug is relevant to show intentional anticompetitive activity with respect to another,4

Because the AG Documents and the unredacted Amended Complaint are readily
available, litigation efficiencies would plainly be served by granting Private Plaintiffs access to
these materials now. This will enable Plaintiffs to efficiently coordinate among themselves
regarding discovery planning and execution, including identifying of potential custodians,
deponents, depositions, and third-party discovery targets. The Plaintiff States do not oppose this
motion.

On February 13, 2018, the Court entered Pretrial Order No. 45 (Protective Order), ECF
561 (the “Protective Order”), and, in doing so, resolved a key discovery dispute between

Plaintiffs and Defendants. Rejecting Defendants’ arguments seeking to limit and silo discovery

 

3 On lune 5, 2018 (Dkt. No. 603), this Court granted the AGs’ motion to file the Amended
Complaint and, in so doing, found that “(t)rom the facts alleged in the CAC which resulted in
part from an investigation commenced in 2014 by the State of Connecticut - it is plausible to
infer that there was a broader conspiracy.” [d. at 7 (footnote omitted).

4 See, e.g., United Smles v. Sw. Bus Sales, [)’zc., 20 F.3d 1449, 1456 (Sth Cir. 1994) (evidence of a
Minnesota conspiracy was admissible to prove a South Dakota conspiracy, where it was “of the
exact nature of the charged South Dakota conspiracy, involving bid rigging of bus sales”); fn re
F lash Memory Amz`lrust Lilig., 643 F. Supp. 2d 1133, l 149 (N.D. Cal. 2009) (acknowledging the
general principle that “evidence concerning a prior conspiracy may be relevant and admissible to
show the background and development of a current conspiracy,” especially in light of the fact
that “at least seven of the employees involved are alleged to have had responsibility for NAND
flash memory pricing, sales, marketing and operations in the United States. Given these
employees’ overlapping involvement in controlling DRAM and flash memory pricing, coupled
with the signiiicant market power wielded by their employers, it is reasonable to infer that their
involvement in the DRAl\/i conspiracy had at least some connection to the alleged conspiracy in
this case.”).

l\.)

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by individual drug, the Protective Order provides for the sharing of discovery across the MDL,
subject,of course, to the Protective Order’s terms. As this Court’s Protective Order recognizes, l
Plaintiffs’ ability to freely-share discovery with each other is essential to the very purpose of this
MDL: providing for efficient, non-duplicative discovery, and the just, speedy, and fair
resolution of the claims encompassed in this l\/IDL.5

Paragraph 1.7 of the Protective Order expressly provides that AG Documents may be
treated as Protected Materials under the Protective Order’s terms:

To the extent produced in the Private Action and for the purposes of the State

Action, [AG Documents] that are entitled to confidentiality under federal or state

laws, regulation or precedent concerning documents in the possession of any

Plaintiff State in the State Action, and any information taken from any portion of

such document, however that information is recorded or transmitted, may be
treated as Protected Materials, as defined below.

The Protective Order further provides that Protected l\/laterials, whether designated as
Confidential or Highly Confidential, may be shared, inter alia, with “Outside counsel for the
Parties” to the Class and State Actions. See 1111 5.3(€), 5.4, 1.3. Therefore, the Protective Order
provides appropriate confidentiality and procedural protections to permit the Plaintiff States to
provide Private Plaintiffs with an unredacted version of their Amended Complaint and the AG
Documents. ln order to execute the shared discovery contemplated by the Protective Order, the
Plaintiff States have expressed the view that it is necessary to obtain a Court Order so as to avoid
any issues that might otherwise arise under Connecticut General Statute § 35-42, the statute 2

under which the Plaintiff States obtained the AG Documents.

 

5 The MDL encompasses actions brought by several different plaintiff groups. T he Direct
Purchaser Plaintiffs, End-Payer Plaintiffs, and lndirect Reseller Plaintiffs are referred to
collectively herein as the “Class Plaintiffs.” “Private Plaintiffs” includes both the Class Plaintiffs
and the Kroger Direct Action Plaintiffs in 18-cv~00284. The “Plaintiff States” refers to the
plaintiff States identified in the Amended Complaint. The Private Plaintiffs and Plaintiff States
are, together, “Plaintiffs.”

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Private Plaintiffs accordingly are submitting a proposed Pretrial Order, first, to expressly
authorize the Plaintiff States to provide Private Plaintiffs with an unredacted version of the
Amended Complaint and access to the AG Documents produced by Defendants to the AGs; and
second, after providing notice to third parties as contemplated by the Protective Order (1l 12),
Private Plaintiffs seek access to the AG Docurnents produced to the AGs by Tliird Parties. As
set forth above, access to and use of these documents will be strictly governed by the Protective
Order.

II. ARGUMENT

T he Plaintiff States filed their Amended Complaint under seal, and have maintained the
confidentiality of AG Docurnents? to comply with Coniiecticut General Statute § 35-42 and
Brown and Brown, ]nc. v. Blumenlhal (“B)"own”),6 a Connecticut Supreme Court decision
regarding the Connecticut statute that governs the AG Documents and the information contained
in the allegations of the Amended Complaint. However, Brown requires only that the Plaintiff
States initially file the at-issue documents and information under seal in order to provide the
producing parties with an opportunity thereafter to timely apply to the Court to justify continued
sealing.7 Such application, if timely made, requires a showing that the information consists of
trade secrets or other similarly sensitive information for which the “need to maintain their
confidentiality overrides the public’s interest in viewing them.”g ln that regard, the reviewing

court must (i) determine that a legitimate confidentiality interest exists sufficient to override the

 

6 297 Conn. 710 (2010).
7 Id. at 736 & n.26.
8 Id. at 736.

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public’s interest in full disclosure, and (ii) issue an order “no broader than necessary to protect
such overridingiiiterest.”9

The vPlaintiff States filed the Amended Complaint in October 20l7 ~ approximately eight
months ago - yet no Defendant whose documents and information are quoted or otherwise relied
upon in that Complaint and/or who produced any AG Documents has made any application to
this Court to maintain the confidentiality of the Amended Coniplaint as required by B’rown.‘0

Further, it seems highly unlikely that the redacted information iii the Amended Complaint
is a trade secret. lt is clear from the context of the Amended Complaint that the redacted
information is the content of collusive communications between competitors and the identified
» individuals participating in those communications Defendants should not be permitted to hide
the details of their illegal conduct by claiming it is a~trade secret.

lndeed, Plaintiffs have reason to believe that Defendants themselves have not maintained
the confidentiality of the Amended Complaint or the AG Docuinents. Plaintiffs asked
Defendants “whether any defendant named in the Plaintiff States’ consolidated amended
complaint (“CAC”) has shared with one or more of the defendants in the MDL who are named
only in the Private Actions (l'.e. , defendants not named in the CAC), either (1) the unredacted
version of the CAC, or (2) any materials produced to the States during the States’
investigation.” Exceipt of Email of April 17, 2018 from Costa to Holt (Exhibit C at pp. 2-
3). Defendants refused to answer the question, giving rise to the clear inference that Defendants
in fact have shared these documents with each other pursuant to joint defense agreements. See

Exceipt of Email of l\/lay 10, 2018 from Holt to Costa (Exhibit C at p.l). lf Defendants have

 

9 la a 736 &11.25.

10 See z`d. at 736.

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shared any of these materials among themselves, then there is no basis to prevent the State
l Plaintiffs from sharing them with other Plaintiffs in the MDL.

Consistent with the Protective Order, Private Plaintiffs seek immediate access to the
unredacted Amended Complaint and the documents produced to the AGs by Defendants Private
Plaintiffs will work with the Plaintiff States to provide notice to third parties who produced
responsive documents to the Plaintiff States, as contemplated by the Protective Order’s “()ther
Proceedings” provision (‘ll 12). See Brown, 297 Conn. at 736 n.24. Private Plaintiffs understand,
however, that the redactions in the Amended Complaint involve only Defendants’ documents
and inforination; third-party materials are not known to be implicated by any of the redactions.
As a corollary, and to avoid later administrative motion practice, Private Plaintiffs request that
the Court’s authorization to access'an unredacted copy of the Ame_nded Complaint also extend to
any subsequent submission to the Court in the Plaintiff States’ case.

Granting Private Plaintiffs access to the unredacted Amended Complaint, and to the AG
Documents, is consistent with the JPML’s Order transferring the Plaintiff States’ actions to the
MDL. The JPML stressed that even though the Plaintiff States’ litigation may be “further
advanced with respect to discovery on account of a three-year investigation by the Attorney
General of Connecticut that preceded the [Plaintiff States’] complaint . . . [g]iven the significant
discovery that remains, there is ample scope to eliminate duplication and enhance the
convenience of the parties, the witnesses, and the couits through coordinated proceedings in the
l\/IDL.” 117 re Generz'c Pharm. Pricing/lntitrusl Litig., l\/lDL No. 2724, 2017 WL 4582710, at *4
(J.P.M.L. Aug. 3, 2017). The .lPl\/IL repeatedly emphasized throughout its opinion that a primary
objective of its Transfer Order was to eliminate duplicative efforts, particularly as regards

discovery. ]d. at ”‘2-*‘4. As the Seventh Circuit has observedi the JPl\/I`L’s suggestions on the

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management of the cases it transfers “must be given great respect” in order to fulfill its statutory
duty to “promote the ‘just and efficient conduct’ of multidistrict litigation[.]” Wi]k v. Am. Med.
Ass’n, 635 F.2d 1295, 1301 (7th Cir. 1980) (quoting 28 U.S.C. § 1407).

As previously discussed in Class Plaintiffs’ briefs concerning the Protective Order (see
MDL Doc. Nos. 520 & 536), there is ample precedent for the coordinated approach suggested by
the JPML’s Transfer Order. For example, in ]n re Liner[)om‘d Anlz`rrzzsr Litig., 333 F. Supp. 2d
333, 339-40 (E.D. Pa. 2004), the court held that discovery should be shared across cases subject
to a protective order “even if the need for the protected materials is minimal.” ln the Upjohn
Amibz'oiz'cs MDL, the court allowed evidence from the MDL case to be shared with the state
- plaintiffs, reasoning that “it is the purpose of multi-district litigation to promote the sharing of
discovery within the consolidated cases.” In re Upjohn Co. Antibz`otz`c C[eocin Prods. Lz'ab.
Lz.'rz`g., 81 F.R.D. 482 (E.D. Mich. 1979), q#"d, 664 F.2d 114, 120 (6th Cir. 1981).ll

Consistent with the JPML Transfer Orders, the Couit has entered a Protective Order that
expressly provides for the sharing of evidence across all cases (but restricting the use of such
discovery to only the actions encompassed within the l\/IDL). As set forth above, both the

Ainended Complaint and the AG Documents plainly are relevant to the claims and defenses

 

ll See also Hi-Lex Conlrols lnc. v. B[zre Cross & Blue Shz`eld of Mz`ch., 2013 WL 1303622, at *1
(E.D. l\/lich. l\/Iar. 28, 2013) (quoting Upjo/m and allowing plaintiffs to use discovery for “other
current, related lawsuits”); Cz`pollone v. Lz'ggel'l Group, Inc., 113 F.R.D. 86, 87 (D.N.J. 1986)
(ordering production of discovery materials in related litigation); Chcl)"ler' Ocik Fl`re ]ns. Co. v.
Electi~'olux Home Prods., 287 F.R.D. 130, 131 (E.D.N.Y. 2012) (modifying protective order over
objection to permit plaintiffs’ counsel access to discovery produced in one case for use in other
similar cases); 111 re Abbotr Lal)s. Sec. Lz`lz'g., No. 92 C 3869, 1993 WL 616693, at *5 (N.D. lll.
Nov. 15, 1993) (rej ecting a protective order proposal that was unfair to plaintiffs and would
“invite consecutive discovery disputes”); Unz`l'ed States v. Hooker Chems. & Plastics Corp., 90
F.R.D. 421, 426 (W.D.N.Y. 1981) (“Use of the discovery fruits disclosed in one lawsuit in
connection with other litigation, and even in collaboration among plaintiffs’ attorneys, comes
squarely within the purposes of the Federal Rules of Civil Procedure. Such cooperation among
litigants promotes the speedy and inexpensive determination of every action as well as
conservation of judicial resources.”) (citations omitted).

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already pending across the l\/IDL. Of the 18 manufacturers named in the Amended Complaint,
v all have also been named as Defendants iirthe Kroger complainti and all but two have already
been named as Defendants by the Class Plaintiffs in their respective cases. Thus, the Amended
Complaint and the AG Documents directly bear on the claims and defenses at issue across the
entire l\/IDL.12

Plaintiffs are currently working to coordinate discovery efforts across all cases consistent
with the Court’s recent entry of Pretrial Order No. 44 (Allowing Targeted Discovery to Proceed),
including identification of appropriate document custodians, likely deponents, and third-party
discovery targets. The identities of the actors and non-parties that would be identified in an
unredacted version of the Amended Complaint and/ or the AG Documents are critical to the
efficiencies of those efforts Similarly, access to the AG Documents would enable all Plaintiffs
to more efficiently coordinate discovery objectives and priorities, and avoid expensive and
burdensome duplication of discovery, as contemplated by the Protective Crder and the .lPl`\/IL
Transfer Orders.

For example, pursuant to investigative subpoenas, the State of Connecticut has obtained
voluminous telephone records showing frequent communication between Defendants’
employees13 See, e.g., Amended Complaint il 94 (showing 513 inter-Defendant contacts over a
one-year period). lndeed, evidence of inter-Defendant communications is at the heart of any
price-fixing case and clearly is relevant to all Plaintiffs’ claims

The Plaintiff States can provide this essential material to Private Plaintiffs with the push

of a button and at no expense Alternatively, Private Plaintiffs could seek to obtain the same

 

12 ln addition, Class Plaintiffs are currently working on pleadings that may encompass many, if
not all, of the additional Defendants and drugs identified in the Ainended Complaint

13 Private plaintiffs do not here seek access to telephone'records secured by the State of New
York.

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records by duplicating all of the Plaintiff States’ work, which would entail collecting through
discovery of Defendantsthe names and telephone numbers of their employees (over Defendants’
obj ections),14 then drafting, serving and negotiating subpoenas to more than a dozen telephone
carriers, all of which could take months and will impose unnecessary burdens on the Parties and
the Court. Such a redundant approach also will impose added burdens on both third parties who
will be required to prepare a duplicative response to a new set of subpoenas and on this Court to
the extent that it must consider motions directed at objections to the production of documents
and information that Defendants have already produced and are now in the physical possession
of a party in this MDL. Neither the Federal Rules nor the JPML’s Transfer Order contemplates
such a tremendous waste of time and resources See Generic Pha)'m. Pri'cing, 2017 WL
45 82710, at *2 (coordinated proceedings should eliminate duplication in discovery and enhance
the convenience of the parties).

The Plaintiff States already have possession of the AG Documents and will agree to

provide them to Private Plaintiffs upon entry of an appropriate Court Order, thus potentially

 

14 Many of Defendants’ l\/Iay 24, 2018 responses to Plaintiffs’ First Set of Inteirogatories
Directed to Defendants refuse to provide mobile telephone numbers and/or identify the
associated phone carriers as required by interrogatory No. 2. See, c.g., Defendant Mylan’s
Responses and Objections to Plaintiffs’ First Set of Interrogatories at 13 (objecting to identifying
mobile telephone numbers and associated phone carriers and providing no substantive answer)
(excerpt at Exhibit D); Lannett Co., lnc.’s Responses and Objections to Plaintiff,s’ First Set of
lnterrogatories at 12-13 ) (same) (excerpt at Exhibit E (filed under seal)); Def. Zydus
Pharmaceuticals (USA), lnc.’s Responses and Obj ections to Plaintiffs’ First Set of
lnterrogatories Directed to Defendants at 10-12 (objecting to, and failing to provide, telephone
carrier information) (exceipt at Exhibit li (filed under seal)); Defendants Akorn, lnc., Akorn
Sales, lnc., and Hi-Tech Pharmacal Co., lnc.’s Responses and Objections to Plaintiffs’ First Set
of Interrogatories at 10-11 (same) (exceipt at Exhibit G (filed under seal)); Teligent, lnc.’s
Responses and Objections to Plaintiffs’ First Set of lnterrogatories at 10-11 (same) (excerpt at
Exhibit H (filed under seal)); Aurobindo Pharma USA, Inc.’s Responses and Objections to
Plaintiffs’ First Set of lnterrogatories at 8-10 (failing to provide telephone carrier information
despite stating no objection thereto) (excerpt at Exhibit l (filed under seal)); Par Pharmaceutical,
lnc.’s Responses and Objections to Plaintiffs’ First Set of lnterrogatories at 10-12 ~(same)
(excerpt at Exhibitl (filed under seal)).

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eliminating any further burden on Defendants to re-produce such documents for Private
Plaintiffs’ use. By conti‘asti Defendants have said they will only produce documents if they are
independently responsive to a document request, thus requiring a document-by-documentl
responsiveness review prior to any production to Plaintiffs. And at the current pace of meet and
confer discussions it will be months before such review or production occurs Moreover,
Defendants have stated their intention to produce different versions of the AG Documents for use
in the MDL, namely, documents bearing different Bates numbers and redactions that mask
information that Defendants unilaterally determine to be irrelevant to the claims in the l\/IDL.
Granting Private Plaintiffs access to the AG Documents avoids such unnecessary delay and
forecloses Defendants from inhibiting cooperation among all Plaintiffs by ensuring Private
Plaintiffs and the Plaintiff States are working from the same set of documents lt also avoids
placing the Plaintiff States in the impossible position of having to “un-see” material that
Defendants would unilaterally redact were they to produce the documents instead, thereby
avoiding confusion, complication and inefficiency in discovery.

Once the AG Documents are obtained from the Plaintiff States, Private Plaintiffs will
presumptively treat all of Defendants’ documents as Highly Confidential under the Protective
Order, and thereafter will negotiate with Defendants to determine how they should be designated
under the Protective Order. ln addition, Private Plaintiffs will work with the Plaintiff States to
ensure appropriate notice is provided to third parties, including telephone carriers consistent
with PT() 45 and Connecticut law.

Authorizing Private Plaintiffs’ access to the AG Documents and the unredacted Amended
Complaint also relieves this Court (and the parties) from the burden of potentially litigating a

host of discovery disputes if those materials had to be separately produced This is especially

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true given that producing Defendants have made no effort at any time over the last eight months

to timely make any of the applications and showings that are required by Brown.

ln sum, permitting Private Plaintiffs access to the unredacted Amended Complaint and

the AG Documents is fully consistent with the Protective Order and the JPML order and serves

to avoid the type of duplication, wasted effort, and needless expense this l\/IDL was designed to

prevent and will help promote the full and fair resolution of all claims

III.

CONCLUSION

Private Plaintiffs respectfully request that this Court enter the proposed Pretrial Order

expressly authorizing Private Plaintiffs’ access to: (1) an unredacted version of the Plaintiff

States’ Amended Complaint; and (2) the AG Documents

Dated: June 6, 2018

/S/ Roberm D. Liebenberg
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